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     9                         UNITED STATES DISTRICT COURT
    10                       CENTRAL DISTRICT OF CALIFORNIA
    11                                SOUTHERN DIVISION
    12
    13 NETLIST INC., a Delaware               CASE NO. 8:20-cv-993-MCS (ADS)
       corporation,
    14                                        NETLIST INC.’S NOTICE OF
                       Plaintiff,             MOTION AND MOTION FOR
    15
                                              PARTIAL SUMMARY JUDGMENT;
    16       v.                               MEMORANDUM OF POINTS AND
                                              AUTHORITIES IN SUPPORT
    17 SAMSUNG ELECTRONICS CO.,               THEREOF
       LTD., a Korean corporation,
    18
                         Defendant.
    19
    20
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                                                       NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
                                                        PARTIAL SUMMARY JUDGMENT; MEMORANDUM OF
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     1
                             NOTICE OF MOTION AND MOTION
     2
     3 TO DEFENDANT AND ITS ATTORNEYS OF RECORD:
     4     PLEASE TAKE NOTICE THAT on September 20, 2021, or as soon

     5 thereafter as the matter may be heard, in Courtroom 7C above the above-entitled
     6 Court, located at 350 W. 1st Street, Los Angeles, California, Plaintiff Netlist Inc.
     7 (“Netlist”) will and hereby does move the Court pursuant to Rule 56 of the Federal
     8 Rules of Civil Procedure for an Order granting Netlist’s Motion for Partial Summary
     9 Judgment as to the merits of the parties’ dispute.
    10      This Motion is based on this Notice; the concurrently filed Memorandum of

    11 Points and Authorities, the Statement of Uncontroverted Facts and Conclusions of
    12 Law (“SUF”), the Declarations of C.K. Hong, Gail Sasaki, P.K. Hong and Raymond
    13 LaMagna; the concurrently lodged Proposed Order; such matters of which this
    14 Court may take judicial notice; the other records, pleadings, and papers filed in this
    15 action; and any other documentary evidence or arguments that may be presented to
    16 this Court at hearing.
    17        This motion is made following the conference of counsel pursuant to L.R. 7-3

    18 which took place on August 7, 2021.
    19 Dated:      August 16, 2021.

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    26
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    28
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     1               MEMORANDUM OF POINTS AND AUTHORITIES
     2 I.     INTRODUCTION
     3        Netlist Inc. (“Netlist”) is a small technology company that has managed to
     4 punch far above its weight in the market due to its history of industry-leading research
     5 and development efforts. In 2015, Netlist entered into a binding contract with
     6 Samsung Electronics Co., Ltd. (“Samsung”), part of the Samsung Group, one of the
     7 largest companies in the world. That contract, called the Joint Development and
     8 License Agreement (“JDLA”), was carefully negotiated over several months and
     9 provided significant consideration to Samsung. As set forth herein, Samsung
    10 materially breached the JDLA, there is no genuine issue of material fact as to that
    11 breach, and this Court should therefore grant partial summary judgment in favor of
    12 Netlist.
    13        In the JDLA, Netlist provided Samsung a fully-paid license to Netlist’s broad
    14 patent portfolio (for which Netlist had demanded a substantial amount), as well as
    15 Netlist’s joint research and development efforts. In exchange, Samsung expressly
    16 agreed that Samsung “will supply NAND and DRAM products to Netlist on Netlist’s
    17 request at a competitive price”—an unambiguous, mandatory supply obligation. That
    18 mandatory supply obligation—memorialized in in Section 6.2—was the most
    19 important right that Netlist obtained in the JDLA. It gave Netlist a guaranteed,
    20 dependable source of vital memory chip products (often in short supply), upon which
    21 Netlist would rely in maintaining and growing its customer relationships and
    22 downstream business. And it required Samsung to prioritize Netlist over other (often
    23 larger) customers without similar agreements in place. Samsung’s attempt in this
    24 litigation to read that mandatory supply obligation out of the JDLA contradicts not
    25 only the unambiguous plain language of Section 6.2, but also the parties’ conduct
    26 under the JDLA as well as Samsung’s internal written admissions—before litigation
    27 arose—proving that Samsung did, in fact, have the very same interpretation of this
    28                                                        NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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     1 provision as Netlist.
     2        For nearly two years, Samsung complied with its mandatory supply obligation
     3 by supplying Netlist with tens of millions of dollars’ worth of memory chips upon
     4 Netlist’s request. For example, in the first half of 2017 alone, Samsung sold roughly
     5 $16 million of product to Netlist, and Samsung knew that Netlist required and was
     6 relying on purchasing even more going forward. Samsung’s own internal emails and
     7 forecasts                                                                                        . In
     8 mid-2017, however, Samsung abruptly reversed course. Having already obtained its
     9 desired patent license from Netlist and preferring to service other customers whom it
    10 considered more important, Samsung decided not to honor its mandatory supply
    11 obligation despite knowing full well that its breach would cause Netlist extensive and
    12 irreparable harm. In Samsung’s own words from before this lawsuit arose:
    13
    14                                                  And it most certainly did.
    15        Because of Samsung’s market power and Netlist’s dependence upon Samsung
    16 for the supply of critical products, Netlist attempted to work things out with Samsung.
    17 Despite Netlist’s repeated efforts, Samsung continued to flout its mandatory supply
    18 obligation, at times arbitrarily limiting the amount of memory chips it would sell and
    19 at other times refusing to sell any memory chips at all to Netlist. Ultimately, Netlist
    20 concluded that further efforts to convince Samsung to change its course would not
    21 work and it terminated the JDLA.
    22        Netlist now moves for partial summary judgment because the material facts
    23 here are not in dispute. The parties entered into an enforceable contract containing an
    24 unambiguous, mandatory supply obligation, as Samsung recognized internally.
    25 Samsung also cannot dispute Netlist’s performance or that it routinely refused to
    26 provide Netlist with memory chips upon request. The materiality of Samsung’s breach
    27 is obvious—the mandatory supply obligation went to the heart of the JDLA and
    28                                                       NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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     1 prevented achievement of Netlist’s primary purpose in entering into the contract.
     2          But there is more. The JDLA also required Samsung to pay Netlist $8 million
     3 for certain research and development efforts. Samsung was allowed to withhold from
     4 that amount taxes that were “required” to be paid under Korean law, and it was
     5 obligated to “reasonably cooperate” in any efforts by Netlist to seek a refund of such
     6 withholdings. Samsung breached these obligations by (i) withholding money it was
     7 not required to withhold under Korean law and (ii) refusing to cooperate with—and,
     8 indeed, actively impeding—Netlist’s efforts to seek a refund. Once again, there is no
     9 genuine dispute as to any material fact concerning these breaches. They provide a
    10 second, independent basis on which to grant summary judgment in favor of Netlist.
    11          Following Samsung’s material breaches of the parties’ contract, Netlist
    12 followed the agreement’s termination provisions to the letter. After giving Samsung
    13 notice and an opportunity to cure, Netlist terminated the parties’ contract. Netlist is
    14 entitled to summary judgment on Samsung’s material breaches of contract and
    15 Netlist’s proper termination of the contract. Netlist will prove at trial the extensive
    16 damages it suffered and is entitled to as a result of Samsung’s breaches.
    17 II.      FACTS AND RELEVANT PROCEDURAL HISTORY
    18          A.     Netlist and Samsung Enter the JDLA.
    19          Founded in 2000, Netlist is an innovator in memory module technologies that
    20 designs and manufactures high-performance products used in servers and storage
                           1
    21 systems. SUF ¶¶ 1-2. As of 2015, Netlist had total assets of less than $25 million and
    22 total revenue of $8 million. Id. ¶¶ 4-5. Despite its small size, Netlist holds many
    23 valuable patents which, on April 16, 2015, it proposed to license to Samsung for a
    24 five-year term in exchange for $85 million plus ongoing royalty payments. Id. ¶ 12.
    25
    26   1
        Citations in the form of “SUF ¶ __” refer to the Statement of Undisputed Facts filed
    27 herewith, and the evidence cited therein. Unless otherwise noted, all emphases to
       quotations are added, and internal quotation marks and alterations have been removed.
    28                                                       NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1          Samsung is among the largest companies in the world. Its memory division
  2 supplies over 40% of all DRAM and 30% of NAND memory chips sold worldwide,
  3 has tens of thousands of employees, and has annual revenues of nearly $50 billion. Id.
  4 ¶¶ 6-8. And Samsung wanted a perpetual license for Netlist’s valuable patent
  5 portfolio. Id. ¶ 13. In a counterproposal to Netlist, Samsung offered, among other
  6 things, a $5 million “NRE” fee in return for joint development efforts on a new
  7 technology2 and a “[s]upply of NAND, DRAM and/or NVDIMM-P.” Id. Samsung
  8 made clear it understood that its counterproposal would “enable[ ] Netlist to expand
  9 its business,” as “the implicit backing of Samsung should help Netlist as it endeavours
 10 to expand it’s [sic] business arrangements in the memory industry.” Id. ¶ 14. Samsung
 11 additionally stated that its proposal to “supply . . . NAND, DRAM and NVDIMM-P
 12 related chipsets will help enable [Netlist’s] vision of being a products company.” Id.
 13          Netlist knew that a direct supply relationship with the world’s largest memory
 14 chip manufacturer would provide a unique and significant competitive advantage—a
 15 guaranteed source of vital product supply, irrespective of temporary supply-chain
 16 difficulties or the intermittent semiconductor shortages that occasionally befall the
 17 industry, which was especially valuable for a company of Netlist’s small size and
 18 limited market power. Id. ¶¶ 15-17. Ultimately, Netlist agreed not to charge Samsung
 19 any royalty at all for a perpetual patent license, in exchange receiving an invaluable
 20 mandatory supply obligation. See id. ¶¶ 27, 29, 34.
 21          The terms of the JDLA were heavily negotiated over several months. Samsung
 22 sent the initial draft of the JDLA to Netlist on October 8, 2015. Id. ¶ 18. That draft
 23 contained two flatly inconsistent provisions. On the one hand, it stated that “Samsung
 24 will supply NAND and DRAM to Netlist on Netlist’s request at a competitive price.”
 25
 26   2
     “NRE” is a commonly used industry acronym not expressly defined in the JDLA.
 27 See, e.g., ISG, Corp. v. PLE, Inc., 917 N.W.2d 23, 35 n.7 (S.D. 2018) (“The acronym
    ‘NRE’ stands for non-recurring engineering fees.”).
 28                                                      NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1 Id. ¶ 19. On the other hand, it suggested that the contract would “not be deemed . . .
  2 to require Samsung to supply any products to Netlist.” Id. Netlist rejected Samsung’s
  3 attempt to treat the supply obligation as anything but mandatory, explaining:
  4         In Section II.6 of the [parties’ memorandum of understanding], Samsung
            clearly agreed to provide Netlist with NAND and DRAM products.
  5
            However, in Section 6.2 of its proposed JDLA, Samsung states that
  6         nothing in this agreement will ‘require Samsung to supply any products
            to Netlist.’ Netlist removed this qualification and returned the language
  7
            to reflect what was agreed to in the MOU.
  8
      Id. ¶ 21. The rejected provision—which would have made Samsung’s agreement to
  9
      supply discretionary and optional—was stripped out of the draft JDLA. Id. ¶ 20.
 10
            The final JDLA contains only the first of those two Samsung-drafted provisions
 11
      imposing a mandatory supply obligation, and not the second: “Samsung will supply
 12
      NAND and DRAM products to Netlist on Netlist’s request at a competitive price.”
 13
      Id. ¶ 34. Internal documents reflect that Samsung understood that Section 6.2 imposed
 14
      a “volume condition” under which Samsung was required to provide Netlist with the
 15
      volume of NAND and DRAM products that Netlist requested. Id. ¶ 37.
 16
            In light of the value of Samsung’s guaranteed supply obligation, Netlist agreed
 17
      to license its technology to Samsung for a one-time payment of only $8 million—less
 18
      than 10% of its original ask without the supply obligation. Id. ¶¶ 12, 27. That payment
 19
      was not a licensing fee accruing to Netlist’s bottom-line as profit, as the $85 million
 20
      and ongoing royalty payments Netlist initially sought would have. Instead, it was a
 21
      non-recurring engineering fee to fund collaborative development work between
 22
      Netlist and Samsung. Id. ¶ 27. Moreover, the non-recurring engineering fee did not
 23
      even cover the actual expenses incurred by Netlist in connection with those joint
 24
      development efforts. Id. ¶ 29. The JDLA also permitted Samsung to deduct from that
 25
      fee “any withholding taxes . . . required by applicable law,” while obligating Samsung
 26
      to “reasonably cooperate with Netlist in any lawful efforts to claim a credit or refund
 27
      or exemption” for such withholdings. Id. ¶ 28.
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  1        In short, Netlist originally sought over $85 million, without any strings
  2 attached, in exchange for a time-limited license to its broad patent portfolio. It agreed
  3 to receive a fraction of that amount, which it was required to spend on research efforts
  4 that would benefit Samsung, in exchange for a perpetual patent license. Why did
  5 Netlist agree to that drastic reduction in monetary consideration in exchange for a
  6 longer license? The reason is obvious: it did so because of the additional
  7 consideration it received via Samsung’s guaranteed supply obligation.
  8        Given Samsung’s international prominence and unrivaled market power, the
  9 JDLA—as negotiated and written—was “critical” to Netlist. See id. ¶¶ 80, 92, 98.
 10 Reflecting its importance, Netlist mentioned the JDLA more than ten times in its 2015
 11 Annual Report, which explained that, among other things, the JDLA “contractually
 12 commit[ted] Samsung to supply NAND flash and DRAM products to [Netlist] on [its]
 13 request” and that the parties had agreed to “work together to jointly develop” certain
 14 new technologies that they hoped would be adopted throughout the electronics
 15 industry. Id. ¶¶ 58-59. The JDLA immediately gave Netlist a strategic competitive
 16 advantage and industry credibility, elevating it into an elite circle of companies with
 17 direct supply obligations from Samsung. Id. ¶¶ 15-17. It was understood that Netlist
 18 would purchase all of the Samsung NAND and DRAM it needed directly from
 19 Samsung, rather than from secondary sources, as purchasing Samsung products from
 20 anyone other than Samsung would be economically nonsensical. Id. ¶ 60. In contrast,
 21 the sales arrangement was worth little to Samsung, in light of its relative size and
 22 market power. Samsung’s sales to Netlist were a drop in the bucket from Samsung’s
 23 perspective: Netlist’s $8 million annual revenue for 2015 is less than one-tenth of one
 24 percent of the $50 billion annual revenue of only Samsung’s memory division. Id.
 25 ¶¶ 7, 27. Samsung’s admitted “main reason for entering into the agreement” was to
 26 obtain the valuable intellectual property licenses that Netlist granted to it under the
 27 JDLA and for which Netlist received no royalty at all. Id. ¶ 42.
 28                                                        NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1        B.     Samsung Initially Complies with the JDLA.
  2        Immediately before entering the JDLA, Samsung supplied Netlist effectively
  3 no product. Id. ¶ 70. Indeed, a senior member of Samsung’s sales team had previously
  4 been “told to not support Netlist” and “actually was not allowed to visit Netlist” as of
  5 2015. Id. ¶ 68. Upon execution of the JDLA, Samsung sales personnel were “told to
  6 support Netlist.” Id. ¶ 69. To comply with Samsung’s unconventional ordering
  7 process, Netlist provided forecasts and sought permission to submit purchase orders
  8 to Samsung to fulfill Netlist’s need for Samsung products. Id. ¶¶ 61-66. This
  9 effectively gave Samsung multiple opportunities to refuse Netlist’s requests for
 10 NAND and DRAM products: Samsung could decline to allow Netlist to submit a
 11 purchase order, or afterwards it could fail to fulfill a purchase order that had already
 12 been accepted by Samsung.
 13        For nearly two years, Samsung substantially complied with its mandatory
 14 supply obligation under the JDLA by routinely authorizing Netlist to submit purchase
 15 orders in amounts commensurate with Netlist’s requests, which Samsung then filled.
 16 Id. ¶ 71. By mid-2017 Samsung had sold more than $25 million of NAND and DRAM
 17 to Netlist. Id. ¶¶ 72-73. That was an insignificant quantity for Samsung. But for
 18 Netlist, it was a crucial lifeline as it invested heavily in sales and marketing efforts
 19 and actively promoted its access to Samsung product in order to build its relationships
 20 and goodwill with customers who, in turn, relied on Netlist’s guaranteed supply under
 21 the JDLA. Id. ¶¶ 55-57. Samsung was fully aware that its supply obligation to Netlist
 22 was likely to continue to grow. As of May 23, 2017, Samsung internally
 23                                              from Netlist. Id. ¶ 81.
 24        C.     Samsung Intentionally Breaches the JDLA’s Supply Requirement.
 25        In 2017, Samsung began refusing to allow Netlist to submit purchase orders in
 26 the amount that Netlist sought and drastically cutting back the NAND and DRAM
 27 that it would provide. Id. ¶¶ 77, 85-86, 88. Neal Knuth—Netlist’s primary contact at
 28                                                        NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1 Samsung for submitting purchase orders—was expressly instructed on May 15, 2017
  2
  3
  4
  5
  6                                                                                of products that
  7 Samsung had previously agreed to sell but which had not yet been delivered. Id. ¶¶ 78,
  8 86, 96-97. Netlist told Knuth that it “cannot accept partial support” from Samsung, as
  9 Samsung’s shirking of its obligation by reducing sales from $8 million per quarter to
 10 under $3 million per quarter in late 2017, and eventually “stopp[ing] shipments
 11 altogether” in 2018, was having a “drastic” impact on Netlist’s business. Id. ¶ 108.
 12 Internal Samsung emails reflect that a senior executive nevertheless
 13
 14                                                 . Id. ¶¶ 76, 83, 85-86, 110.
 15        At around the same time that Samsung began preventing Netlist from
 16 purchasing its NAND and DRAM products, Samsung began openly expressing its
 17 supposed “disappoint[ment]” and “frustrati[on]” concerning the companies’ joint
 18 research and development efforts. Id. ¶ 89. Shortly thereafter, after having benefited
 19 from Netlist’s intellectual property, Samsung concluded the joint development efforts
 20 with Netlist, claiming that they were “unlikely to result in a commercially viable
 21 product,” notwithstanding Netlist’s attempts to demonstrate otherwise. Id. ¶ 91. From
 22 that point forward, Samsung’s supply obligation constituted the only consideration
 23 that Netlist was to receive in exchange for the perpetual patent licenses it had granted
 24 to Samsung.
 25        Netlist explained to Samsung that its sudden refusal to fulfill Netlist’s requests
 26 for NAND and DRAM was causing Netlist to lose critical business opportunities and
 27 was tarnishing the goodwill that Netlist had established with its customer base. Id.
 28                                                        NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1 and profits, and irreparable reputational harm. Id. ¶¶ 119-20. Yet, as explained by
  2 Netlist’s co-founder and Chief Executive Officer C.K. Hong, “[b]ecause the supply
  3 arrangement with Samsung was so uniquely valuable to Netlist, [Netlist] did not want
  4 to walk away from it.” Id. ¶ 111.
  5        Even as Samsung refused Netlist’s product requests, Samsung internally
  6 recognized that it was required to fulfill them. For instance, on January 18, 2018,
  7 Samsung personnel exchanged emails quoting the text of Section 6.2 and admitting
  8 that, “[p]ursuant to the agreement, supply for NAND and DRAM products is
  9 necessary if there is a request from Netlist.” Id. ¶ 38. Just one month later, Samsung’s
 10 Memory Division Vice President and Group Leader for Business Strategy, Yong
 11 Hwangbo, reviewed the JDLA and informed his colleagues in writing (while
 12 forwarding the relevant provisions and admitting that Samsung charged Netlist prices
 13 “higher than [an]other similarly sized company”) that the JDLA imposes on Samsung
 14 “an obligation to supply NAND/DRAM at a competitive price if [Netlist] makes a
 15 request.” Id. ¶ 39. Notwithstanding its admitted contractual supply obligation,
 16 Samsung concedes that it “routinely rejected requests for product from Netlist.” Id.
 17 ¶ 114; see also id. ¶¶ 115-17.
 18        D.     Samsung Intentionally Breaches the JDLA’s Tax Provisions.
 19        Samsung also withheld $1.32 million of the $8 million NRE fee, falsely
 20 asserting that it was taxable under Korean law. Id. ¶¶ 46, 49. Samsung’s withholding
 21 was a breach because no taxes were owed on it. In addition, Samsung was obligated
 22 under Section 3.2 to “reasonably cooperate” with any effort by Netlist to seek a
 23 refund. Id. ¶ 28. Samsung did not do so, instead telling Netlist that it “should discuss
 24 this mater directly with the NTS,” the Korean National Tax Service. Id. ¶¶ 47-49.
 25 Samsung then actively undermined Netlist’s efforts by advocating over Netlist’s
 26 objection that the non-taxable engineering fee was a taxable patent royalty. Id. ¶¶ 50-
 27 52. On November 17, 2020, the Korean Tax Tribunal rejected Samsung’s arguments
 28                                                        NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1 and agreed with Netlist that Samsung had improperly withheld the funds because they
  2 were not taxable under Korean law. Id. ¶ 53.
  3          E.    Netlist Terminates the JDLA.
  4          Over time, it became evident that Samsung was not going to reverse course and
  5 honor its contractual commitments. Id. ¶ 124. Section 13.2(1) provides that either
  6 party may “terminate th[e] Agreement upon written notice” if the other party “is in
  7 material breach of th[e] Agreement and it is not cured within thirty (30) days” after
  8 receipt of a “written demand,” or if “as a consequence of the breach the purpose of
  9 th[e] Agreement cannot be achieved.” Id. ¶ 43. On May 27, 2020, Netlist sent a written
 10 demand and notice for cure, in which it reiterated its “commit[ment] to resolving these
 11 issues amicably” in the hopes of continuing with the parties’ commercial relationship.
 12 Id. ¶ 125. That letter was also e-mailed to Samsung. Id. ¶ 126. Despite receiving both
 13 the mailed and e-mailed copies of Netlist’s written demand, Samsung ignored them.
 14 Id. ¶ 127. So, on July 15, 2020, after having “not received a response from Samsung
 15 . . . let alone any cure of such breaches,” Netlist terminated the JDLA because
 16 Samsung’s breaches had “fundamentally undermined the purpose of” the contract. Id.
 17 ¶ 128.
 18          F.    Relevant Procedural History
 19          Netlist brought this action on May 28, 2020. Dkt. 1. It filed its First Amended
 20 Complaint, adding a claim for a declaratory judgment that the JDLA was validly
 21 terminated, on July 22, 2020. Dkt. 18-2. Samsung answered the First Amended
 22 Complaint on November 6, 2020. Dkt. 27. On June 22, 2021—11 months after the
 23 First Amended Complaint was filed—Samsung moved for judgment on the pleadings.
 24 Dkt. 61. The Court denied Samsung’s motion for judgment on the pleadings on
 25 August 5, 2021. Dkt. 120. In that ruling, the Court rejected Samsung’s arguments that
 26 (1) Section 6.2 imposed only a pricing obligation on Samsung, (2) Section 6.2 is valid
 27 only if the JDLA is a U.C.C. requirements contract, (3) Netlist is barred from seeking
 28                                                        NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1 consequential damages, (4) Samsung complied with Section 3 so long as it did not
  2 violate Korean law, (5) Netlist’s allegations that Samsung did not reasonably
  3 cooperate with Netlist’s efforts to seek a refund of the improperly withheld $1.32
  4 million were conclusory, and (5) Netlist permanently and irrevocably elected to
  5 continue in its contractual relationship with Samsung. Id.
  6 III.   LEGAL STANDARD
  7        Summary judgment is appropriate if “there is no genuine dispute as to any
  8 material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.
  9 P. 56(a). “Where the record taken as a whole could not lead a rational trier of fact to
 10 find for the non-moving party, there is no genuine issue for trial.” Matsushita Elec.
 11 Indus. Co. v. Zenith, 475 U.S. 574, 587 (1986). “The mere existence of a scintilla of
 12 evidence in support of the [non-movant’s] position will be insufficient; there must be
 13 evidence on which the jury could reasonably find” against the movant in order for
 14 summary judgment to be denied. Anderson v. Liberty Lobby, 477 U.S. 242, 252
 15 (1986); see also Matsushita, 475 U.S. 586 (“metaphysical doubt[s]” are insufficient).
 16 IV.    ARGUMENT
 17        “To prevail on a breach of contract claim under New York law, a plaintiff must
 18 prove [i] a contract; [ii] performance of the contract by one party; [iii] breach by the
 19 other party; and [iv] damages.” Aquino v. Alexander Cap., L.P., 2021 WL 3185533,
 20 at *14 (S.D.N.Y. July 27, 2021). The facts are undisputed that the JDLA is an
 21 enforceable contract, Samsung breached its supply obligation and the tax provisions
 22 of the JDLA, both are material breaches, Netlist performed its obligations, and Netlist
 23 was damaged. Courts can grant summary judgment on such claims. See, e.g., Alberts
 24 v. CSTV Networks Inc., 945 N.Y.S.2d 555, 555 (App. Div. 2012) (affirming summary
 25 judgment that material breach occurred).
 26        A.     The JDLA is an Enforceable Contract.
 27        The JDLA is a binding contract between Netlist and Samsung. Samsung has
 28                                                        NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1 admitted that the parties entered into the JDLA on November 12, 2015, SUF ¶ 22, and
  2 it has further asserted that “Netlist failed to comply with its obligations” by
  3 terminating the JDLA, id. ¶ 129; see also Dkt. 27 at 5 (asserting as an affirmative
  4 defense that Netlist breached). Samsung’s argument necessarily presupposes that the
  5 JDLA was an enforceable contract imposing the obligations with which Netlist
  6 purportedly failed to comply.
  7        Only after this litigation was filed did Samsung assert that the JDLA fails for
  8 lack of consideration, presumably because the JDLA does not expressly obligate
  9 Netlist to purchase exclusively from Samsung. See Dkt. 27 at 5 (“Failure of
 10 Consideration”); Dkt. 58-1 at 17-18 (arguing JDLA is “non-exclusive”). As an initial
 11 matter, the Court has already
 12                                                                               Dkt. 120 at 5.
 13 Moreover, exclusivity is not the sine qua non of consideration, which is broadly
 14 defined under New York law to encompass any “benefit to the promisor” so long as
 15 “something is promised, done, forborne or suffered by the party to whom the promise
 16 is made as consideration for the promise made to him.” Guzman v. Ramos, 139 N.Y.S.
 17 3d 648, 651 (App. Div. 2021). The JDLA is replete with benefits to Samsung,
 18 including Netlist’s promises to (i) license intellectual property rights to Samsung,
 19 (ii) engage in “collaborative development work” on a new product, (iii) “work
 20 together” with Samsung on “technology standardization and productization,”
 21 (iv) “provide Samsung a right of first refusal to acquire” Netlist technology, (v) sell
 22 products to Samsung “at a price lower than the price Netlist provides to any other
 23 buyer,” and (vi) release claims Netlist may have otherwise had against Samsung. SUF
 24 ¶¶ 23, 30-33, 40-41. This is more than sufficient consideration for the JDLA to
 25 constitute an enforceable agreement.
 26        B.     Netlist Performed under the JDLA.
 27        Netlist’s performance under the JDLA during the time period at issue is also
 28                                                       NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1 undisputed. Id. ¶ 130. When asked to identify all facts related to any alleged breach
  2 of the JDLA by Netlist, Samsung’s sole response was to refer to “Netlist’s purported
  3 termination” in July 2020—nothing during the course of the parties’ commercial
  4 relationship. Id. ¶ 129. That is a concession Netlist performed under the JDLA.
  5         C.     Samsung Breached the JDLA.
  6                1.      Samsung breached its supply obligation.
  7         Samsung admits that it did not supply Netlist with all of the NAND and DRAM
  8 that Netlist sought to purchase from Samsung. In its own words, Samsung “routinely”
  9 did “not support” Netlist’s requests for products and instead “routinely rejected”
 10 them. Id. ¶¶ 114-17. Samsung couches this glaring concession as nothing more than
 11 business as usual, because it acted “as it would with any other similarly situated
 12 customer during the same time period.” Id. ¶ 118. But even if that is true, Samsung’s
 13 breach of other similar contracts is not a defense to its breach of the supply obligation
 14 under this contract.
 15         In any event, Samsung’s refusal to sell product to Netlist was not standard
 16 operating procedure. Rather, Netlist was intentionally singled out.
 17
 18              Id. ¶ 110. Pursuant to                     , Samsung limited Netlist to
 19 purchasing only $500,000 of product per month. Id. ¶¶ 85-86, 110. Moreover,
 20
 21
 22                                                         during this period. Id. ¶ 105.
 23 Samsung’s recognized it would face                                           if Netlist learned
 24 about the arbitrary cap Samsung had imposed, even as its employees
 25
 26
 27                            . Id. ¶¶ 87, 96-97. At the same time, lower-level Samsung
 28                                                        NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1 employees confessed to Netlist that there was “nothing [they could] do,” they were
  2 “not even supposed to discuss with [Netlist] what [Samsung] ha[d] available,” and
  3 that they were “not going to get fired” for violating those instructions. Id. ¶ 99.
  4 Internal Samsung documents confirm
  5
  6                                                                                            Id. ¶ 82.
  7 Samsung deliberately breached Section 6.2, knew the harm it was causing to Netlist,
  8 and did not care. That is textbook bad faith. See Stevens v. Publicis, S.A., 854
  9 N.Y.S.2d 690, 692 (App. Div. 2008) (“bad faith may include evasion of the spirit of
 10 the bargain” and “willful rendering of imperfect performance”).
 11        Because Samsung’s conduct is not in question, whether that undisputed
 12 conduct breached Section 6.2 provides only a question of contract interpretation.
 13 Summary judgment is proper in contract disputes “if the language of the contract is
 14 wholly unambiguous,” which presents “a question of law to be decided by the Court”
 15 to be resolved without reliance on parol evidence. Malmsteen v. Univ. Music Grp.,
 16 Inc., 940 F. Supp. 2d 123, 130 (S.D.N.Y. 2013).
 17        Section 6.2 of the JDLA imposes an unambiguous obligation on Samsung,
 18 providing that “Samsung will supply NAND and DRAM products to Netlist on
 19 Netlist’s request at a competitive price.” SUF ¶ 34. The parties chose to use the phrase
 20 “will supply,” which is mandatory, not discretionary. As New York’s highest court
 21 has explained, “the usual meaning which the law and common usage impose upon”
 22 the word “will” is “one of binding obligation, not election.” Zheng v. City of N.Y., 19
 23 N.Y.3d 556, 580 (2012).
 24        Samsung has argued that Section 6.2 does not provide a supply obligation, but
 25 its plain and unambiguous language shows otherwise. In denying Samsung’s motion
 26 for judgment on the pleadings, this Court has already recognized that
 27
 28                                                        NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1 of th[at] provision clearly precludes construction of the contract as though it still
  2 contained that provision,” the JDLA cannot be read to allow Samsung to refuse
  3 Netlist’s requests to purchase NAND and DRAM. Oldcastle Precast, Inc. v. U.S. Fid.
  4 & Guar. Co., 458 F. Supp. 2d 131, 144 (S.D.N.Y. 2006); see also Fireguard Sprinkler
  5 Sys., Inc. v. Scottsdale Ins. Co., 864 F.2d 648, 651 (9th Cir. 1988) (“Words deleted
  6 from a contract may be the strongest evidence of the intention of the parties.”).
  7        Accordingly, for nearly two years after entering into the JDLA, Samsung
  8 largely complied with its mandatory supply obligation. SUF ¶¶ 71-73; see also In re
  9 Med. Cap. Sec. Lit., 2011 WL 5067208, at *5 (C.D. Cal. July 26, 2011) (“the conduct
 10 of the parties . . . before any controversy has arisen . . . affords the most reliable
 11 evidence of the parties intentions”). Samsung’s contemporaneous intent and
 12 understanding can also be ascertained from its internal discussions. As Samsung
 13 acknowledged time and again, it had “an obligation to supply NAND/DRAM”
 14 because “[p]ursuant to the agreement, supply for NAND and DRAM products is
 15 necessary if there is a request from Netlist.” Id. ¶¶ 38-39. Just like the JDLA’s use of
 16 the term “will supply,” Samsung’s emails are unequivocal: Samsung knew it did not
 17 have any discretion to deny Netlist’s requests to purchase NAND and DRAM. There
 18 is no better evidence of the JDLA’s proper interpretation than that Samsung and
 19 Netlist actually agree on it. See, e.g., Sunbury Textile Mills v. Comm’r of Internal
 20 Revenue, 585 F.2d 1190, 1196 (3d Cir. 1978) (“Where . . . there is no dispute between
 21 the contracting parties over the meaning of the terms, . . . [t]heir harmonious recital
 22 of what these words mean is conclusive.”).
 23        Lastly, to the extent any ambiguity remains as to the parties’ understanding,
 24 Section 6.2 must be interpreted in favor of Netlist. The key phrase “Samsung will
 25 supply” products “on Netlist’s request” was drafted by Samsung. SUF ¶¶ 18-19. “It
 26 has long been the rule” in New York “that ambiguities in a contractual instrument will
 27 be resolved contra proferentem, against the party who prepared or presented it.” 151
 28                                                        NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1 W. Assocs. v. Printsiples Fabric Corp., 61 N.Y.2d 732, 734 (1984). Section 6.2 “is
  2 subject to the rule invoking strict construction of the contract in the light most
  3 favorable to the nondrafting party.” DeAngelis v. DeAngelis, 962 N.Y.S.2d 328, 330
  4 (App. Div. 2013). That, too, requires summary judgment in Netlist’s favor.
  5                2.    Samsung breached by withholding $1.32 million and failing
                         to “reasonably cooperate” with Netlist
  6
            Under Section 3.1, Samsung was required to pay Netlist $8 million as a non-
  7
      recurring engineering fee to fund the companies’ joint research and development
  8
      efforts. SUF ¶ 27. Section 3.2 allowed Samsung to “deduct any applicable
  9
      withholding taxes due or payable under the laws of Korea” from that fee, but only
 10
      “[t]o the extent that any withholding taxes are required by applicable law.” Id ¶ 28.
 11
      And if any funds were withheld, Samsung was still required to “reasonably cooperate
 12
      with Netlist in any lawful efforts to claim a credit or refund or exemption with respect
 13
      to any such withholding taxes.” Id. Samsung breached each of these binding
 14
      obligations by (1) wrongfully withholding $1.32 million from the $8 million fee that
 15
      was not, in fact, “required” to be paid to Korean tax authorities, and (2) obstructing
 16
      Netlist’s efforts to seek a refund of those wrongfully withheld funds. Id. ¶¶ 46-52.
 17
            Wrongful Withholding. It has now been conclusively determined as a matter
 18
      of Korean law that Samsung was not “required” to withhold $1.32 million, and thus
 19
      its withholding breached Sections 3.1 and 3.2. In its disposition of November 17,
 20
      2020, the Korean Tax Tribunal decisively ruled in Netlist’s favor, finding that that the
 21
      $8 million owed to Netlist under the JDLA was business income, rather than patent
 22
      royalties, and thus Samsung’s withholding of $1.32 million was not required under
 23
      Korean law. Id. ¶ 53. The substance of the Korean Tax Tribunal’s decision “is not
 24
      subject to reasonable dispute” as it “can be accurately and readily determined from
 25
      sources whose accuracy cannot be reasonably be questioned.” Fed. R. Evid.
 26
      201(b)(2). Accordingly, this Court may take judicial notice of that ruling, which is
 27
 28                                                         NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1 dispositive on the question of whether Samsung breached Sections 3.1 and 3.2. See,
  2 e.g., Kenneth v. Yeung Chi Shing Holding (Del.,) Inc., 2020 WL 409010, at *4 n.5
  3 (N.D. Cal. Jan. 24, 2020) (“Courts may take notice of proceedings in other courts,
  4 both within and without the federal judicial system,” including “foreign judgments
  5 and court documents”); In re Ex Parte Application of Jommi, 2013 WL 6058201, at
  6 *1 n.1 (N.D. Cal. Nov. 15, 2013) (similar).
  7         Samsung is barred from attempting to re-argue this issue because that would
  8 necessarily re-litigate the merits of the Korean tax proceedings in which Samsung
  9 actively participated. See, e.g., Gardner v. Comm’r of Internal Revenue, 704 F. App’x
 10 720 (9th Cir. 2017) (“Collateral estoppel applies if (1) the issue at stake is identical to
 11 the one alleged in the prior litigation; (2) the issue was actually litigated by the party
 12 against whom preclusion is asserted in the prior litigation; and (3) the determination
 13 of the issue in the prior litigation was a critical and necessary party of the judgment.”);
 14 Stewart v. U.S. Bancorp., 297 F.3d 953, 956 (9th Cir. 2002) (“Res judicata applies
 15 when there is (1) an identity of claims; (2) a final judgment on the merits; and (3)
 16 identity or privity between parties.”).
 17         Failure to Cooperate. Samsung further and continuously breached Section 3.2
 18 by failing to “reasonably cooperate” with Netlist’s efforts to reclaim the wrongfully
 19 withheld funds. SUF ¶ 28. Under New York law, questions of reasonableness can be
 20 resolved on summary judgment where, as here, there is no “triable issue of fact.”
 21 Perrault v. Village Dunes Apt. Corp., 83 N.Y.S.3d 141, 143 (App. Div. 2018)
 22 (affirming summary judgment award because defendant’s actions were “reasonable”).
 23 Summary judgment is appropriate because Samsung’s non-cooperation is not
 24 factually disputed and it “consisted of willful and avowed obstruction.” Preferred
 25 Mut. Ins. Co. v. SAV Carpentry, Inc., 844 N.Y.S.2d 363, 364 (App. Div. 2007)
 26 (affirming summary judgment award for plaintiff with burden of proof as to
 27 reasonableness of conduct).
 28                                                          NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1          When asked via interrogatory to describe any actions it took to “reasonably
  2 cooperate” with Netlist’s efforts to seek a refund, Samsung gave only two responses.
  3 First, “Samsung informed Netlist that if it desired a refund, it could do so by directly
  4 contacting the Korean National Tax Service.” SUF ¶ 49. In other words, Samsung
  5 told Netlist that Netlist was on its own. That is, quite literally, the opposite of the
  6 dictionary definition of the term “cooperate.” See, e.g., “Cooperate,” Merriam-
  7 Webster, https://www.merriam-webster.com/dictionary/cooperate (“to act or work
  8 with another or others; act together or in compliance” (first definition)).
  9          Second, Samsung asserts it “provided” the Korean tax authorities with
 10 “information within its knowledge relating to the [JDLA] and the payment of any fees
 11 owed to Netlist under it.” SUF ¶ 52. But Samsung did not offer objective facts to the
 12 Korean government. Rather, it argued (incorrectly) that the $8 million it owed to
 13 Netlist should be regarded as patent licensing income. Id. ¶¶ 51-52. In other words,
 14 Samsung expressly advocated against Netlist’s interests by arguing an unmeritorious
 15 position that the Korean Tax Tribunal has since confirmed is wrong as a matter of
 16 law. That, too, is directly contrary to the notion of cooperation. See, e.g., “Cooperate,”
 17 Merriam-Webster, https://www. merriam-webster.com/dictionary/cooperate (“to
 18 associate with another or others for mutual benefit” (second definition)).4
 19
      4
     This was not a mere one-time breach occurring upon Samsung’s initial failure to pay
 20 Netlist $8 million. The Korean Tax Tribunal’s ruling was not issued until November
 21 2020, four months after Netlist filed its First Amended Complaint. See Dkt. 17-1.
    Under the continuing wrong doctrine, ongoing breaches of a contract result in a “cause
 22 of action accru[ing] anew every day for each continuation of the wrong,” as “the
 23 claims for breach of that obligation are not referable exclusively to the day the original
    wrong was committed.” Stalis v. Sugar Creek Stores, Inc., 744 N.Y.S.2d 586, 587
 24
    (App. Div. 2002). Netlist’s claim “accru[ed] . . . continuously” in light of Samsung’s
 25 continued failure to pay Netlist what it was owed or to cooperate in Netlist’s efforts
    over the course of several years to pursue a tax refund. Miller v. Metro. Life Ins. Co.,
 26
    979 F.3d 118, 122 (2d Cir. 2020). Samsung’s failure to cooperate also reflects its bad
 27 faith. See Stevens, 854 N.Y.S.2d at 692 (bad faith includes “interference with or
    failure to cooperate in the other party’s performance”).
 28                                                         NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1         Section 3.1 expressly states that the $8 million payment constituted “non-
  2 refundable NRE fees,” SUF ¶ 27, where “NRE” is a common an acronym for “non-
  3 recurring engineering,” see, e.g., ISG, Corp., 917 N.W.2d at 35 n.7. That term
  4 describes fees intended to “provide[ ] reimbursement for design effort and other
  5 preproduction work” in connection with researching and developing a new product.
  6 Westinghouse Elec. Corp. v. Garrett Corp., 437 F. Supp. 1301, 1306 (D. Md. 1977);
  7 see also, e.g., EFW, Inc. v. Smiths Aerospace, LLC, 2008 WL 11349748, at *1 (N.D.
  8 Tex. Nov. 21, 2008) (“non-recurring engineering expenses aris[e] during [product]
  9 development”); Alan S. Gutterman, 2 Corporate Counsel’s Guide to Technology
 10 Management & Transactions § 22.2 (“a customer pay[ing] some or all of the
 11 supplier’s nonrecurring engineering expenses to develop a product meeting [its]
 12 specific needs” is “fairly standard”). Moreover, the context of the JDLA bears this
 13 out: the heading “Development Costs” appears directly above that payment provision,
 14 demonstrating that this payment was for Netlist’s efforts in satisfaction of the parties’
 15 “Collaborative Development Work” under Section 2 of the JDLA. SUF ¶¶ 23, 26; cf.
 16 Beltrone, 592 N.Y.S.2d at 834 (relying on contract headings). Samsung’s arguments
 17 to the Korean tax authorities were thus directly contrary to the plain language of
 18 Section 3 itself. While Netlist originally sought patent licensing fees from Samsung,
 19 SUF ¶ 12, that is not what the parties ultimately bargained for. Samsung has once
 20 again sought to read back into the JDLA terms that were eschewed during the
 21 contract’s negotiation. See, e.g., Fireguard Sprinkler Sys, 864 F.2d at 651; Oldcastle
 22 Precast, 458 F. Supp. 2d at 144.
 23         D.    Damages
 24         So long as Samsung breached the JDLA while Netlist performed, Netlist does
 25 not also need to prove damages to obtain summary judgment. In New York, it is a
 26 “well-established rule of contract law that the law will infer at least nominal damages
 27 at the moment of breach.” Kronos, Inc. v. AVX Corp., 81 N.Y.2d 90, 94 (1993); see
 28                                                        NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1 also, e.g., Ross v. Sherman, 944 N.Y.S.2d 620, 621 (App. Div. 2012) (affirming
  2 nominal damages award absent “sufficient evidence to demonstrate actual damages”).
  3 Because Samsung breached and Netlist did not, supra Pt. III(B)-(C), partial summary
  4 judgment is warranted. Following expert discovery and on a complete record, Netlist
  5 will demonstrate that it suffered multimillion-dollar damages in an amount to be
  6 proven at trial.
  7         E.     Samsung’s Breaches Were Material.
  8         Section 13.2(1) of the JDLA allows Netlist to terminate the contract if Samsung
  9 “is in material breach of th[e] Agreement and it is not cured within thirty (30) days
 10 period from [Netlist’s] written demand, or as a consequence of the breach the purpose
 11 of this Agreement cannot be achieved.” SUF ¶ 43. This provision echoes the common
 12 law, as the “general rule” is that “rescission of a contract is permitted for such a breach
 13 as substantially defeats its purpose,” but not “for a slight, casual or technical breach.”
 14 Ma v. Biaggi, 54 N.Y.S.3d 46, 47 (App. Div. 2017). “[T]he question whether a breach
 15 is material is for the finder of fact but, where the evidence concerning the materiality
 16 is clear and substantially uncontradicted, the question is a matter of law for the court
 17 to decide.” Wiljeff, LLC v. United Realty Mgmt. Corp., 920 N.Y.S.2d 495, 497 (App.
 18 Div. 2011) (affirming partial summary judgment in favor of plaintiff); see also, e.g.,
 19 Alberts, 945 N.Y.S.2d at 555 (affirming summary judgment where “plaintiff
 20 materially breached his contract with defendant”); Hoover v. HSBC Mortg. Corp., 9
 21 F. Supp. 3d 223, 242-43 (N.D.N.Y. 2014) (materiality can be “resolved at summary
 22 judgment or trial”).
 23         The primary benefit promised to Netlist under the JDLA was Samsung’s
 24 mandatory supply obligation. The exchange of a supply obligation in return for a
 25 patent license clearly was the centerpiece of the negotiations, consideration, and
 26 transaction. Netlist originally sought $85 million dollars in addition to ongoing
 27 royalty payments for a five-year patent license. Samsung countered with a request for
 28                                                          NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1 a perpetual license, and offered to fund joint research in the amount of $5 million,
  2 loan Netlist $10 million, and provide Netlist with a “[s]upply of NAND, DRAM
  3 and/or NVDIMM-P controllers on terms to be negotiated.” SUF ¶¶ 12-13. Moreover,
  4 the email from Samsung to which its counteroffer was attached establishes that
  5 Samsung recognized the value of the supply proposal to Netlist, as Samsung “hope[d]
  6 the supply of NAND, DRAM and NVDIMM-P related chipsets will help enable
  7 [Netlist’s] vision of being a products company.” Id. ¶ 14. Rather than monetary
  8 payment for its valuable patent license, under the final JDLA Netlist instead received
  9 a mandatory supply obligation, highly coveted in Netlist’s industry. See id. ¶¶ 15-17
 10 (“Samsung’s commitment to supply NAND and DRAM . . . was of crucial value to
 11 Netlist” because it would “reduce business risk stemming from the possibility that
 12 [intermittent] shortages would disrupt the flow of products to [Netlist’s] customers”
 13 and “elevated Netlist into an elite group of industry players and provided assurances
 14 to Netlist’s customers that if they engaged Netlist, they would have good access to
 15 supply.”).
 16        After Samsung ceased filling Netlist’s orders, Netlist made repeated
 17 exhortations for Samsung to reinstate its supply because it was “critical” for Netlist.
 18 Id. ¶¶ 80, 92, 98. As Netlist explained,
 19
 20                                            Id. ¶ 102. What’s more, Samsung knew this
 21 harm was occurring and was devastating to Netlist. At the very same time that Netlist
 22 was pleading for more NAND and DRAM product, Samsung employees discussed
 23 internally how Samsung
 24
 25                                                                                                   Id.
 26 ¶ 82. Those are undisputed admissions—Samsung knew that its bad-faith breach of
 27 contract was material to Netlist. Indeed, Samsung was placing Netlist in precisely the
 28                                                       NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1 position it had sought to avoid by entering into the JDLA. The only reason Netlist was
  2 willing to license its patents to Samsung for tens of millions of dollars less than its
  3 initial ask and without receiving any royalties was “[b]ecause securing direct supply
  4 of NAND and DRAM was so critical to Netlist.” Id. ¶ 15. This Court thus need look
  5 no further than Samsung’s breach of its supply obligation to find a material breach.
  6        As if that weren’t enough, Samsung also failed to pay nearly 20% of the NRE
  7 fee due to Netlist. That was unlawful, gratuitous and counterproductive because that
  8 money was intended to support joint research and development efforts that would
  9 benefit Samsung just as much as Netlist. Furthermore, while $1.32 million may be a
 10 pittance for Samsung, for Netlist it was a material amount. Samsung then rubbed salt
 11 in the wound by actively obstructing Netlist’s ability to recuperate those wrongfully
 12 withheld funds, which took years and significant further costs to accomplish.
 13        Where a party fails to deliver on the “primary consideration” promised to its
 14 counterparty, as Samsung has, it “is routinely held to constitute a material breach,
 15 justifying contract termination.” Canon Solutions Am., Inc. v. Lucky Games, 2017 WL
 16 1653563, at *4 (S.D.N.Y. May 1, 2017) (granting partial summary judgment).
 17 Samsung materially breached the JDLA through its “fail[ure] to perform a substantial
 18 part of the contract or one or more of its essential terms or conditions.” Viacom
 19 Outdoor, Inc. v. Wixon Jewelers, Inc., 906 N.Y.S.2d 776 (Table), at *3 (Sup. Ct. 2009)
 20 (granting summary judgment), aff’d, 919 N.Y.S.2d 151 (App. Div. 2011); see also
 21 10-12 W. 107th St. HDFC v. Vilma, 976 N.Y.S.2d 830, 833 (Civ. Ct. 2013) (“repeated
 22 breaches . . . constitute a breach of a material term”). Because there “are no triable
 23 issues of fact with respect to” Samsung’s conduct, summary judgment is appropriate
 24 with respect to the materiality of Samsung’s breaches. Viacom, 906 N.Y.S.2d at *3.
 25        F.     Netlist Properly Terminated the JDLA.
 26        The JDLA provides that, in the event of a material breach, Netlist was to send
 27 a “written demand” to Samsung to cure such breach within thirty days, after which
 28                                                       NETLIST INC ’S NOTICE OF MOTION AND MOTION FOR
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  1 Netlist would “have a right to terminate” the JDLA if the breach was “not cured.”
  2 SUF ¶ 43. The JDLA further clarified that such demand would “be valid upon receipt”
  3 by Samsung, so long as it was “sent by registered or certified mail” to the addressee
  4 specified in Section 15. Id. ¶ 44. Netlist precisely followed that procedure by sending
  5 a written demand to the specified address by registered mail, expressly seeking cure
  6 of Samsung’s material breaches. Id. ¶ 125. Samsung admits that it received Netlist’s
  7 demand letter, but claims it was returned to sender (conspicuously never stating one
  8 way or the other whether it was aware of the letter’s contents at the time). Id. ¶ 127.
  9 But the JDLA does not require that Samsung keep or even read the written demand
 10 for cure in order to trigger Samsung’s thirty-day cure period. Instead, notices sent
 11 under the JDLA are “valid upon receipt thereof.” Id. ¶ 44. The critical, undisputed
 12 fact is Samsung’s admission that it received the letter in question. And, in any event,
 13 Samsung has also admitted that it received a copy of that same letter from Netlist via
 14 email on June 12, 2020. Id. ¶¶ 126-27.
 15        When Samsung failed to respond, Netlist followed up with a second letter on
 16 July 15, 2020, which was once again sent by registered mail to the same addressee
 17 specified in JDLA. Id. ¶ 128. As stated in that second letter, “Netlist ha[d] provided
 18 Samsung with notice of a material breach,” yet “Netlist ha[d] not received a response
 19 from Samsung regarding the material breaches set forth” in its first letter, “let alone
 20 any cure of such breaches.” Id. Accordingly, Netlist properly terminated the JDLA
 21 pursuant to Section 13.2 “effective immediately.” Id. Because Netlist complied with
 22 all requirements imposed by Sections 13 and 15, it is entitled to a declaration that the
 23 JDLA was properly terminated.
 24 V.     CONCLUSION
 25        For the foregoing reasons, Netlist respectfully requests that partial summary
 26 judgment be granted on each of its three causes of action, with damages to be
 27 determined at trial.
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